Joshua A. Sussberg, P.C.                                      Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
KIRKLAND & ELLIS LLP                                          Ross M. Kwasteniet, P.C. (admitted pro hac vice)
KIRKLAND & ELLIS INTERNATIONAL LLP                            Christopher S. Koenig
601 Lexington Avenue                                          Dan Latona (admitted pro hac vice)
New York, New York 10022                                      KIRKLAND & ELLIS LLP
Telephone:     (212) 446-4800                                 KIRKLAND & ELLIS INTERNATIONAL LLP
Facsimile:     (212) 446-4900                                 300 North LaSalle Street
                                                              Chicago, Illinois 60654
                                                              Telephone:       (312) 862-2000
                                                              Facsimile:       (312) 862-2200

Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                            )
    In re:                                                                  )     Chapter 11
                                                                            )
    CELSIUS NETWORK LLC, et al., 1                                          )     Case No. 22-10964 (MG)
                                                                            )
                                                Debtors.                    )     (Jointly Administered)
                                                                            )

        SIXTH SUPPLEMENTAL NOTICE OF ADDITIONAL PHISHING ATTEMPTS

             PLEASE TAKE NOTICE that, on July 29, 2023, the Debtors became aware that

additional phishing emails and text messages 2 purporting to be from “Celsius Network Claims,”


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8
      USA LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
2
      On November 30, 2022, the Debtors filed the Notice of Phishing Attempts [Docket No. 1527] (the “Original
      Notice”) to alert parties in interest of phishing emails sent to certain of the Debtors’ customers purporting to be
      restructuring associates at Kirkland & Ellis LLP, the Debtors’ Counsel, and requesting that customers submit
      their wallet addresses and other account information to receive claim distributions. Copies of such emails are
      attached to the Original Notice as Exhibit A. Additionally, on December 13, 2022, the Debtors filed the
      Supplemental Notice of Phishing Attempts [Docket No. 1681] (the “First Supplemental Notice”) to alert parties
      in interest of third-party reports of these and similar phishing emails targeting cryptocurrency users and their
      potential sources. Copies of such reports are attached to the Supplemental Notice as Exhibit A. On January 22,
      2023, the Debtors filed the Second Supplemental Notice of Additional Phishing Attempts [Docket No. 1904]
      (the “Second Supplemental Notice”) to alert parties in interest of phishing texts and emails sent to certain of the
      Debtors’ customers purporting to be a senior manager at Stretto, Inc., the Debtors’ claims agent (“Stretto”), and
      requesting that customers submit their official personal identification, cryptocurrency wallet addresses, bank
      accounts, and contact information to receive claim distributions, and pay a purported “filing fee” and “tax fee.”
      Copies of such texts and emails were attached to the Second Supplemental Notice as Exhibit A and Exhibit B,
“Celsius Network LLC (via Dropbox),” or Stretto were sent to certain of the Debtors’ customers

(i) claiming that customers are eligible for withdrawing assets from the Celsius platform and

(ii) encouraging customers to click a suspicious hyperlink to initiate withdrawals. Copies of such

emails and text messages are attached hereto as Exhibit A.

       PLEASE TAKE FURTHER NOTICE that these emails and text messages are not

authorized communications from the Debtors or Stretto and are strongly suspected to be phishing

scams containing links to malware or otherwise seeking to obtain personally identifiable

information and account information of Celsius customers.

       PLEASE TAKE FURTHER NOTICE that neither the Debtors nor their advisors,

including Stretto, will ever contact you by email, telephone call, text message, or otherwise to

request account information or other personal information absent an (a) order by the Court or

(b) on-the-record instruction from the Court. In connection with the distribution of certain assets

authorized by the Court, the Debtors have sent KYC requests to the eligible customers through the

Debtors’ mobile application (the “Celsius App”) in accordance with the applicable withdrawal

procedures approved by the Court. See, e.g., Notice of Schedule of Custody Users Entitled to



   respectively. On February 6, 2023, the Debtors filed the Third Supplemental Notice of Additional Phishing
   Attempts [Docket No. 1992] (the “Third Supplemental Notice”) to alert parties in interest of similar phishing
   emails sent to certain of the Debtors’ customers purporting to be a senior manager at Stretto, Inc., that contained
   a hyperlink to a falsified order (the “Falsified Order”) purportedly from the United States Bankruptcy Court for
   the Southern District of New York (the “Court”). A copy of such emails, a redline showing the differences
   between the Falsified Order and the correct copy of the Final Order (I) Authorizing the Payment of Certain Taxes
   and Fees and (II) Granting Related Relief [Docket No. 526], and a copy of the Falsified Order were attached to
   the Third Supplemental Notice as Exhibit A, Exhibit B, and Exhibit C, respectively. On February 15, 2023, the
   Debtors filed the Fourth Supplemental Notice of Additional Phishing Attempts [Docket No. 2082] (the “Fourth
   Supplemental Notice”) to alert parties in interest of phishing emails purporting to be from Stretto, Inc. and
   advertising an alleged opportunity to receive “NFT.” A copy of such emails was attached to the Fourth
   Supplemental Notice as Exhibit A. On June 26, 2023, the Debtors filed the Fifth Supplemental Notice of
   Additional Phishing Attempts [Docket No. 2896] (the “Fifth Supplemental Notice” and collectively with the
   Original Notice, the First, the Second, the Third, and the Fourth Supplemental Notice, the “Phishing Notices”) to
   alert parties in interests of phishing emails purporting to be “Celsius Customer Support” and claiming that
   customers can “claim” or “withdraw their Tokens almost immediately” through a suspicious hyperlink. Copies
   of such emails were attached to the Fifth Supplemental Notice as Exhibit A.



                                                         2
Withdraw Certain Assets [Docket No. 1958]; Notice of Withdrawals Opening for Eligible Custody

Users [Docket No. 2176]; Notice of Schedule of Postpetition Transferors Entitled to Withdraw

Postpetition Transfers [Docket No. 2667] (collectively, the “Withdrawal Notices”).

       PLEASE TAKE FURTHER NOTICE that, in connection with the KYC process of ANY

withdrawal or solicitation, the Debtors will ONLY request a customer’s personally identifiable

information and financial information through (a) the Celsius App or (b) an email from the

domain           “@celsius.network”              (e.g.,            support@celsius.network           or

complianceteam@celsius.network), and the Debtors will ALWAYS provide notice(s) of the

applicable withdrawal or solicitation procedures to all parties in interest on the website of

Stretto, at https://cases.stretto.com/celsius.

       PLEASE TAKE FURTHER NOTICE that, if you receive any uncorroborated email, text

message, or telephone call purporting to be from the Debtors or their advisors claiming that

withdrawals are available or requesting account information, personal information, or payment,

we    request    that    you    please    immediately           contact   the   Debtors’   counsel   at

CelsiusCreditorQuestions@kirkland.com            or       the       Debtors’     claims    agent     at

CelsiusInquiries@stretto.com.

       PLEASE TAKE FURTHER NOTICE that copies of the Phishing Notices, the

Withdrawal Notices, and all other documents filed in these chapter 11 cases may be obtained free

of charge by visiting the website of Stretto at https://cases.stretto.com/celsius.



                            [Remainder of page intentionally left blank]




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New York, New York      /s/ Joshua A. Sussberg
Dated: August 1, 2023   KIRKLAND & ELLIS LLP
                        KIRKLAND & ELLIS INTERNATIONAL LLP
                        Joshua A. Sussberg, P.C.
                        601 Lexington Avenue
                        New York, New York 10022
                        Telephone:      (212) 446-4800
                        Facsimile:      (212) 446-4900
                        Email:          joshua.sussberg@kirkland.com

                         - and -

                        Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
                        Ross M. Kwasteniet, P.C. (admitted pro hac vice)
                        Christopher S. Koenig
                        Dan Latona (admitted pro hac vice)
                        300 North LaSalle Street
                        Chicago, Illinois 60654
                        Telephone:       (312) 862-2000
                        Facsimile:       (312) 862-2200
                        Email:           patrick.nash@kirkland.com
                                         ross.kwasteniet@kirkland.com
                                         chris.koenig@kirkland.com
                                         dan.latona@kirkland.com

                        Counsel to the Debtors and Debtors in Possession




                        4
            Exhibit A

Phishing Emails and Text Messages
2
3
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